                                                                                         Case 06-60712                  Doc 1            Filed 05/18/06 Entered 05/18/06 10:17:09                                             Desc Main
                                                                                                                                           Document     Page 1 of 46
                                                                     (Official Form 1) (10/05)
                                                                      FORM B1
                                                                                                                    United States Bankruptcy Court                                                                          Voluntary Petition
                                                                                                                     Western District of Virginia
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Humphries, Melvin NMN                                                                            Humphries, Delmonica Lynn
                                                                      All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                                      (include married, maiden, and trade names):
                                                                                                                                                                       Lynn Davis



                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than               Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than
                                                                      one, state all):                                                                                 one, state all):
                                                                                         6285                                                                                              2670
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                                 Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      4616 Fort Ave                                                                                    4616 Fort Ave
                                                                      Unit A                                                                                           Unit A
                                                                      Lynchburg, VA                                                             ZIPCODE                Lynchburg, VA                                                          ZIPCODE
                                                                                                                                                24502                                                                                         24502
                                                                      County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
                                                                      Lynchburg City                                                                                   Lynchburg City
                                                                      Mailing Address of Debtor (if different from street address)                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
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                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                                              ZIPCODE


                                                                      Type of Debtor (Form of Organization)                     Nature of Business                                           Chapter of Bankruptcy Code Under Which
                                                                                (Check one box.)                            (Check all applicable boxes.)                                       the Petition is Filed (Check one box)

                                                                      üIndividual (includes Joint Debtors)                Health Care Business                      ü Chapter 7                   Chapter 11            Chapter 15 Petition for Recognition
                                                                         Corporation (includes LLC and LLP)               Single Asset Real Estate as defined              Chapter 9              Chapter 12            of a Foreign Main Proceeding
                                                                         Partnership                                      in 11 U.S.C. § 101(51B)                                         Chapter 13                    Chapter 15 Petition for Recognition
                                                                         Other (If debtor is not one of the               Railroad                                                                                      of a Foreign Nonmain Proceeding
                                                                         above entities, check this box and               Stockbroker
                                                                         provide the information requested                Commodity Broker                                                         Nature of Debts (Check one box)
                                                                         below.)                                          Clearing Bank
                                                                         State type of entity:                            Nonprofit Organization qualified          ü Consumer/Non-Business                    Business
                                                                                                                          under 15 U.S.C. § 501(c)(3)
                                                                                                        Filing Fee (Check one box)                                                                 Chapter 11 Debtors:
                                                                                                                                                                    Check one box:
                                                                      üFull Filing Fee attached                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                         attach signed application for the court’s consideration certifying that the debtor           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                                                      -----------------------------------------------------
                                                                         is unable to pay fee except in installments. Rule 1006(b). See Official Form
                                                                         3A.                                                                                        Check if:
                                                                         Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must                 Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                         attach signed application for the court’s consideration. See Official Form 3B.               affiliates are less than $2 million.
                                                                      Statistical/Administrative Information                                                                                                         THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      üDebtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
                                                                          no funds available for distribution to unsecured creditors.
                                                                      Estimated Number of Creditors
                                                                        1-           50-         100-        200-       1,000-        5,001-    10,001-      25,001-         50,001-           Over
                                                                        49           99          199         999        5,000         10,000    25,000       50,000          100,000          100,000
                                                                        ü
                                                                      Estimated Assets
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                           ü
                                                                      Estimated Debts
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                           ü
                                                                     VOLUNTARY PETITION
                                                                                  Case 06-60712               Doc 1        Filed 05/18/06 Entered 05/18/06 10:17:09                                     Desc Main
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                                                                     (Official Form 1) (10/05)                                                                                                                 FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Humphries, Melvin NMN & Humphries, Delmonica Lynn
                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                           whose debts are primarily consumer debts)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter.
                                                                                                                                                     I further certify that I delivered to the debtor the notice required by §
                                                                                                                                                     342(b) of the Bankruptcy Code.

                                                                                                                                                     X   /s/ Margaret C. Valois                                         5/18/06
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                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date


                                                                                                     Exhibit C                                                   Certification Concerning Debt Counseling
                                                                      Does the debtor own or have possession of any property that poses or is                           by Individual/Joint Debtor(s)
                                                                      alleged to pose a threat of imminent and identifiable harm to public
                                                                      health or safety?                                                              ü I/we have received approved budget and credit counseling during the
                                                                                                                                                         180-day period preceding the filing of this petition
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                                                                                                         I/we request a waiver of the requirement to obtain budget and credit
                                                                      ü No                                                                               counseling prior to filing based on exigent circumstances. (Must
                                                                                                                                                         attach certification describing.)

                                                                                                           Information Regarding the Debtor (Check the Applicable Boxes)
                                                                                                                                 Venue (Check any applicable box)

                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                     Check all applicable boxes.

                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)


                                                                                                                                    (Address of landlord or lessor)

                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                              entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                                                                              of the petition.


                                                                     VOLUNTARY PETITION
                                                                                     Case 06-60712                   Doc 1    Filed 05/18/06 Entered 05/18/06 10:17:09                                       Desc Main
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                                                                     (Official Form 1) (10/05)                                                                                                                            FORM B1, Page 3
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                        Humphries, Melvin NMN & Humphries, Delmonica Lynn
                                                                                                                                           Signatures
                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this     I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts     in a foreign main proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed        A certified copy of the order granting recognition is attached.
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand     (Check one box only)
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                        I request relief in accordance with chapter 15 of title 11, United
                                                                      chapter 7.
                                                                                                                                                        States Code. Certified copies of the documents required by § 1515 of
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                                                                                                        title 11 are attached.
                                                                      the petition] I have obtained and read the notice required by § 342(b) of
                                                                      the Bankruptcy Code.                                                              Pursuant to § 1511 of title 11, United States Code, I request relief in
                                                                                                                                                        accordance with the chapter of title 11 specified in this petition. A
                                                                      I request relief in accordance with the chapter of title 11, United States
                                                                                                                                                        certified copy of the order granting recognition of the foreign main
                                                                      Code, specified in this petition.
                                                                                                                                                        proceeding is attached.
                                                                      X   /s/ Melvin NMN Humphries
                                                                          Signature of Debtor           Melvin NMN Humphries                       X
                                                                                                                                                        Signature of Foreign Representative
                                                                      X   /s/ Delmonica Lynn Humphries
                                                                          Signature of Joint Debtor Delmonica Lynn Humphries                       X
                                                                                                                                                        Printed Name of Foreign Representative
                                                                          Telephone Number (If not represented by attorney)
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                                                                                                                                                        Date
                                                                          May 18, 2006
                                                                          Date

                                                                                                    Signature of Attorney                                         Signature of Non-Attorney Petition Preparer
                                                                                                                                                   I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Margaret C. Valois                                                   preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                      compensation and have provided the debtor with a copy of this document
                                                                          Margaret C. Valois 66034                                                 and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Printed Name of Attorney for Debtor(s)                                   110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                                                                                                   pursuant to 11 U.S.C. § 110 setting a maximum fee for services
                                                                          Margaret C. Valois, PLLC                                                 chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Firm Name
                                                                                                                                                   notice of the maximum amount before preparing any document for filing
                                                                          2511 Memorial Ave Ste 203                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          Address                                                                  section. Official Form 19B is attached.
                                                                          Lynchburg, VA 24501-2657
                                                                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                          (434) 845-4529                                                           Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                          Telephone Number                                                         Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                   bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 18, 2006
                                                                          Date
                                                                                                                                                   Address

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct, and that I have been authorized to file this   X
                                                                      petition on behalf of the debtor.                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                                                                                                        partner whose social security number is provided above.

                                                                      The debtor requests relief in accordance with the chapter of title 11,
                                                                                                                                                        Date
                                                                      United States Code, specified in this petition.
                                                                                                                                                   Names and Social Security numbers of all other individuals who
                                                                      X                                                                            prepared or assisted in preparing this document unless the bankruptcy
                                                                          Signature of Authorized Individual                                       petition preparer is not an individual:

                                                                          Printed Name of Authorized Individual

                                                                                                                                                   If more than one person prepared this document, attach additional
                                                                          Title of Authorized Individual                                           sheets conforming to the appropriate official form for each person.
                                                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Date                                                                     of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

                                                                     VOLUNTARY PETITION
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                                                                                                                                 United States Bankruptcy Court
                                                                                                                                   Western District of Virginia

                                                                     IN RE:                                                                                                               Case No.
                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                    Chapter 7
                                                                                                                         Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor's liabilities. Individual debtors must also complete the “Statistical Summary of Certain Liabilities.”

                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                              Yes                      1       $                0.00



                                                                      B - Personal Property                                          Yes                      3       $         10,030.66
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                                                                      C - Property Claimed as Exempt                                 Yes                      1



                                                                      D - Creditors Holding Secured Claims                           Yes                      1                                $           7,708.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                     Yes                      1                                $                0.00
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                     Yes                      8                                $         40,551.82
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                     Yes                      1
                                                                          Leases


                                                                      H - Codebtors                                                  Yes                      1


                                                                      I - Current Income of Individual
                                                                                                                                     Yes                      1                                                         $           2,102.04
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                     Yes                      1                                                         $           2,099.66
                                                                          Debtor(s)


                                                                                                                                     TOTAL                   19       $         10,030.66 $              48,259.82




                                                                     SUMMARY OF SCHEDULES
                                                                                    Case 06-60712                Doc 1         Filed 05/18/06 Entered 05/18/06 10:17:09        Desc Main
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                                                                                                                                United States Bankruptcy Court
                                                                                                                                  Western District of Virginia

                                                                     IN RE:                                                                                        Case No.
                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                                             Chapter 7
                                                                                                                        Debtor(s)

                                                                                                STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                                                 [Individual Debtors Only]
                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                                    Amount

                                                                      Domestic Support Obligations (from Schedule E)

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)

                                                                      Claims for Death or Personal Injury While Debtor was Intoxicated (from Schedule E)

                                                                      Student Loan Obligations (from Schedule F)

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E
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                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)

                                                                                                                                                                               TOTAL         0.00




                                                                     STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                     Case 06-60712                 Doc 1          Filed 05/18/06 Entered 05/18/06 10:17:09                                       Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                 Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J       DEDUCTING ANY               CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                       EXEMPTION

                                                                     None
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                                                                                                                                                                                     TOTAL                         0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                                    Case 06-60712                     Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                                      Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J       DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                                   Cash on hand                                                                               J                   60.00
                                                                        2. Checking, savings or other financial        X
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
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                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Bedroom Furniture- 2 bedrooms                                                              J                  300.00
                                                                           include audio, video, and computer              Dining Room Furniture                                                                      J                  300.00
                                                                           equipment.
                                                                                                                           Kitchen table & chairs                                                                     J                   75.00
                                                                                                                           Living Room Furniture, Tables, Lamps                                                       J                  300.00
                                                                                                                           Personal Computer- 10 years old                                                            J                   50.00
                                                                                                                           Pots, dishes, small appliances and utensils                                                J                  100.00
                                                                                                                           Televisions (2), VCR, DVD player                                                           J                  300.00
                                                                                                                           Washer & Dryer                                                                             J                  200.00
                                                                        5. Books, pictures and other art objects,          Books, pictures and home decor items                                                       J                   75.00
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing- Husband                                                                         H                   500.00
                                                                                                                           Clothing- Wife                                                                            W                   500.00
                                                                        7. Furs and jewelry.                               Jewelry and watch- Husband                                                                H                    75.00
                                                                                                                           Jewelry and watch- Wife                                                                   W                   150.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                    Case 06-60712                    Doc 1    Filed 05/18/06 Entered 05/18/06 10:17:09                         Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                        Case No.
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                      N                                                                          H   DEBTOR'S INTEREST IN
                                                                                                                      O                                                                          W    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                          DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                          J      DEDUCTING ANY
                                                                                                                      E                                                                          C    SECURED CLAIM OR
                                                                                                                                                                                                          EXEMPTION

                                                                      12. Interests in IRA, ERISA, Keogh, or          X
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      13. Stock and interests in incorporated             Two shares Payless ShoeSource Inc                                      H                 45.66
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint          X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                        X
                                                                      17. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
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                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor         X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life          X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              1998 Mitsubishi Mirage                                                 W             2,000.00
                                                                          other vehicles and accessories.                 2001 Ford Focus.                                                       C             5,000.00
                                                                      26. Boats, motors, and accessories.             X
                                                                      27. Aircraft and accessories.                   X
                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      30. Inventory.                                  X


                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                   Case 06-60712                Doc 1    Filed 05/18/06 Entered 05/18/06 10:17:09                          Desc Main
                                                                                                                           Document     Page 9 of 46

                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                               Case No.
                                                                                                                        Debtor(s)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)

                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                 N                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                 O                                                                              W     PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                 N                                                                              J       DEDUCTING ANY
                                                                                                                 E                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                          EXEMPTION

                                                                      31. Animals.                               X
                                                                      32. Crops - growing or harvested. Give     X
                                                                          particulars.
                                                                      33. Farming equipment and implements.      X
                                                                      34. Farm supplies, chemicals, and feed.    X
                                                                      35. Other personal property of any kind    X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                         TOTAL                10,030.66
                                                                                                                                                                     (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                       Case 06-60712               Doc 1         Filed 05/18/06 Entered 05/18/06 10:17:09                                Desc Main
                                                                                                                                  Document     Page 10 of 46

                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                          Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $125,000.
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand                                                 CV § 34-4                                                              60.00                     60.00
                                                                     Bedroom Furniture- 2 bedrooms                                CV § 34-26(4a)                                                        300.00                    300.00
                                                                     Dining Room Furniture                                        CV § 34-26(4a)                                                        300.00                    300.00
                                                                     Kitchen table & chairs                                       CV § 34-26(4a)                                                         75.00                     75.00
                                                                     Living Room Furniture, Tables, Lamps                         CV § 34-26(4a)                                                        300.00                    300.00
                                                                     Personal Computer- 10 years old                              CV § 34-26(4a)                                                         50.00                     50.00
                                                                     Pots, dishes, small appliances and utensils CV § 34-26(4a)                                                                         100.00                    100.00
                                                                     Televisions (2), VCR, DVD player                             CV § 34-26(4a)                                                        300.00                    300.00
                                                                     Washer & Dryer                                               CV § 34-26(4a)                                                        200.00                    200.00
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                                                                     Books, pictures and home decor items                         CV § 34-26(1)                                                          75.00                     75.00
                                                                     Clothing- Husband                                            CV § 34-26(4)                                                         500.00                    500.00
                                                                     Clothing- Wife                                               CV § 34-26(4)                                                         500.00                    500.00
                                                                     Jewelry and watch- Husband                                   CV § 34-4                                                              75.00                     75.00
                                                                     Jewelry and watch- Wife                                      CV § 34-4                                                             150.00                    150.00
                                                                     Two shares Payless ShoeSource Inc                            CV § 34-4                                                              45.66                     45.66
                                                                     1998 Mitsubishi Mirage                                       CV § 34-26(8)                                                       2,000.00                   2,000.00




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                     Case 06-60712                  Doc 1          Filed 05/18/06 Entered 05/18/06 10:17:09                                        Desc Main
                                                                                                                                    Document     Page 11 of 46

                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                  Case No.
                                                                                                                                 Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.

                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child.” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N          AMOUNT OF CLAIM
                                                                                                                                     C                                                                         O    L   D     WITHOUT DEDUCTING
                                                                                                                                     O                                                                         N    I   I    VALUE OF COLLATERAL
                                                                                                                                     D    H                                                                    T    Q   S
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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                           DATE CLAIM WAS INCURRED,
                                                                                                                                     E    W                                                                    I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                               NATURE OF LIEN, AND DESCRIPTION AND VALUE OF
                                                                                                                                     B    J                                                                    N    I   U
                                                                                         (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E    UNSECURED PORTION, IF
                                                                                                                                     R                                                                         N    T   D           ANY
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No. 0701                                                X C Loan for 2001 Ford Focus
                                                                     CitiFinancial Auto
                                                                     2208 Highway 121                                                                                                                                                    7,708.00
                                                                     Bedford, TX 76021-5981

                                                                                                                                              Value $              5,000.00                                                              2,708.00
                                                                     Account No.




                                                                                                                                              Value $

                                                                     Account No.




                                                                                                                                              Value $

                                                                     Account No.




                                                                                                                                              Value $
                                                                                                                                                                                                                Subtotal
                                                                               0 continuation sheets attached                                                                                       (Total of this page)                 7,708.00

                                                                                                                                                 (Use only on last page of the completed Schedule D) TOTAL                               7,708.00
                                                                                                                                                                                                       (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                     Case 06-60712                  Doc 1          Filed 05/18/06 Entered 05/18/06 10:17:09                                         Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                   Case No.
                                                                                                                                 Debtor(s)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.
                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable on
                                                                     each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.” If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim
                                                                     is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X”
                                                                     in more than one of these three columns.)
                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. If applicable, also report this total on the Means Test form.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Domestic Support Obligations
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                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                          Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.



                                                                               0 continuation sheets attached



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     Case 06-60712                  Doc 1          Filed 05/18/06 Entered 05/18/06 10:17:09                                        Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                  Case No.
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community maybe liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N
                                                                                                                                     C                                                                         O    L   D
                                                                                                                                     O                                                                         N    I   I
                                                                                                                                     D    H                                                                    T    Q   S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                     E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.            I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                           AMOUNT OF CLAIM
                                                                                                                                     B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                N    I   U
                                                                                         (See instructions above.)
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E
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                                                                                                                                     R                                                                         N    T   D
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No. 5MSW                                                    H Cellular Telephone Service
                                                                     Alltel Communications
                                                                     Building 4 Fifth Floor
                                                                     1 Allied Dr
                                                                     Little Rock, AR 72202-2013
                                                                                                                                                                                                                                            725.81
                                                                     Account No.                                                              Assignee or other notification for:
                                                                     Alltel Communications                                                    Alltel Communications
                                                                     PO Box 8130
                                                                     Little Rock, AR 72203-8130



                                                                     Account No. 6285                                                     J Loan
                                                                     American General Finance
                                                                     220 John Glenn Dr
                                                                     Amherst, NY 14228-2228

                                                                                                                                                                                                                                         3,732.00
                                                                     Account No. 4492                                                    W Consumer Credit Account
                                                                     Bank First
                                                                     1509 W 41st St
                                                                     Sioux Falls, SD 57105-6370

                                                                                                                                                                                                                                         1,050.00
                                                                     Account No.                                                              Assignee or other notification for:
                                                                     Jefferson Capital Systems LLC                                            Bank First
                                                                     16 McLeland Rd
                                                                     Saint Cloud, MN 56303-2198


                                                                                                                                                                                                                Subtotal
                                                                               7 continuation sheets attached                                                                                       (Total of this page)                 5,507.81

                                                                                                                                                 (Use only on last page of the completed Schedule F) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
                                                                                                                                                                                               U
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                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Midland Credit Management                                     Bank First
                                                                     PO Box 939019
                                                                     San Diego, CA 92193-9019



                                                                     Account No. 3540                                         W Consumer Credit Account
                                                                     Capital One
                                                                     PO Box 85167
                                                                     Richmond, VA 23285-5167
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                                                                                                                                                                                                                   1,068.75
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Dominion Law Associates                                       Capital One
                                                                     222 Central Park Ave
                                                                     Virginia Beach, VA 23462-3022



                                                                     Account No. 6285                                         W Loan
                                                                     Check First
                                                                     3701 Fort Ave
                                                                     Lynchburg, VA 24501-3819

                                                                                                                                                                                                                     633.57
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Check First                                                   Check First
                                                                     117 Center Park Dr Ste 310
                                                                     Knoxville, TN 37922-2131



                                                                     Account No. 0776                                         H Consumer Credit Account
                                                                     Chevron Credit Bank NA
                                                                     PO Box 5010
                                                                     Concord, CA 94524-0010

                                                                                                                                                                                                                     661.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Allied Interstate                                             Chevron Credit Bank NA
                                                                     3000 Corporate Exchange Dr 5th Fl
                                                                     Columbus, OH 43231-7689


                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         1 of       7 sheets attached to Schedule of                                               (Total of this page)              2,363.32
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                   Assignee or other notification for:
                                                                     CCB Credit Services Inc                                       Chevron Credit Bank NA
                                                                     PO Box 272
                                                                     Springfield, IL 62705-0272



                                                                     Account No. 3673                                         H Consumer Credit Account
                                                                     Citi Cards
                                                                     Mc02-02-03
                                                                     8725 W Sahara Ave
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                                                                     The Lakes, NV 89163-0001
                                                                                                                                                                                                                     900.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     LVNV Funding                                                  Citi Cards
                                                                     PO Box 10497
                                                                     Greenville, SC 29603-0497



                                                                     Account No. 3667                                          J Consumer Credit Account
                                                                     Citibank
                                                                     ATTN: Bankruptcy
                                                                     PO Box 6500
                                                                     Sioux Falls, SD 57117-6500
                                                                                                                                                                                                                   2,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Associated Recovery Systems                                   Citibank
                                                                     201 W Grand Ave
                                                                     Escondido, CA 92025-2603



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Glasser & Glasser PLC                                         Citibank
                                                                     580 E Main St Ste 600
                                                                     Norfolk, VA 23510-2322



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Unifund CCR Partners                                          Citibank
                                                                     10625 Techwood Cir
                                                                     Cincinnati, OH 45242-2846


                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         2 of       7 sheets attached to Schedule of                                               (Total of this page)              2,900.00
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No. 3681                                         W Consumer Credit Account
                                                                     Citibank/Sears
                                                                     ATTN: BANKRUPTCY
                                                                     PO Box 6189
                                                                     Sioux Falls, SD 57117-6189
                                                                                                                                                                                                                   1,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     LVNV Funding                                                  Citibank/Sears
                                                                     PO Box 10497
                                                                     Greenville, SC 29603-0497
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                                                                     Account No. 1702                                         H Consumer Credit Account
                                                                     Citibank/Sears
                                                                     ATTN: BANKRUPTCY
                                                                     PO Box 6189
                                                                     Sioux Falls, SD 57117-6189
                                                                                                                                                                                                                   7,110.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     LVNV Funding                                                  Citibank/Sears
                                                                     PO Box 10497
                                                                     Greenville, SC 29603-0497



                                                                     Account No. 0370                                         W Consumer Credit Account
                                                                     Citibank/Shell
                                                                     PO Box 6003
                                                                     Hagerstown, MD 21747-6003

                                                                                                                                                                                                                     115.00
                                                                     Account No. 2922                                         W Collection Account for Medical treatment.
                                                                     Creditors Service Agency                                   ALL ACCOUNTS.
                                                                     2600 Memorial Ave Ste 206
                                                                     Lynchburg, VA 24501-2658

                                                                                                                                                                                                                   1,614.37
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Centra Health                                                 Creditors Service Agency
                                                                     PO Box 2496
                                                                     Lynchburg, VA 24505-2496


                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         3 of       7 sheets attached to Schedule of                                               (Total of this page)              9,839.37
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
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                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Pathology Consultants Of Central VA                           Creditors Service Agency
                                                                     1905 Atherholt Rd
                                                                     Lynchburg, VA 24501-1103



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Piedmont Eye Center Inc.                                      Creditors Service Agency
                                                                     2402 Atherholt Rd
                                                                     Lynchburg, VA 24501-2148
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Womens Health Services Of Central VA                          Creditors Service Agency
                                                                     2919 Confederate Ave
                                                                     Lynchburg, VA 24501-2435



                                                                     Account No. 1962                                          J Consumer Credit Account.
                                                                     Discover
                                                                     PO Box 15316
                                                                     Wilmington, DE 19850-5316

                                                                                                                                                                                                                   4,240.63
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Donald M. Fishman                                             Discover
                                                                     10605 Judicial Dr Ste A5
                                                                     Fairfax, VA 22030-5167



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Palisades Collection LLC                                      Discover
                                                                     210 Sylvan Ave
                                                                     Englewood Cliffs, NJ 07632-2524



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Wolpoff & Abramson                                            Discover
                                                                     Two Irvington Centre
                                                                     702 King Farm Blvd
                                                                     Rockville, MD 20850-5774

                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         4 of       7 sheets attached to Schedule of                                               (Total of this page)              4,240.63
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
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                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
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                                                                     Account No. 9963                                         H Consumer Credit Account
                                                                     Discover
                                                                     PO Box 15316
                                                                     Wilmington, DE 19850-5316

                                                                                                                                                                                                                   9,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Palisades Collection LLC                                      Discover
                                                                     210 Sylvan Ave
                                                                     Englewood Cliffs, NJ 07632-2524
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Unifund CCR Partners                                          Discover
                                                                     10625 Techwood Cir
                                                                     Cincinnati, OH 45242-2846



                                                                     Account No. 8264                                         H Consumer Credit Account
                                                                     First Premier Bank
                                                                     900 W Delaware St
                                                                     Sioux Falls, SD 57104-0347

                                                                                                                                                                                                                     420.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     First Premier Bank                                            First Premier Bank
                                                                     PO Box 5519
                                                                     Sioux Falls, SD 57117-5519



                                                                     Account No. 6493                                         W Consumer Credit Account
                                                                     Providian Bank
                                                                     ATTN: Bankruptcy
                                                                     PO Box 9180
                                                                     Pleasanton, CA 94566-9180
                                                                                                                                                                                                                   2,805.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Alliance One                                                  Providian Bank
                                                                     PO Box 1961
                                                                     Southgate, MI 48195-0961


                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         5 of       7 sheets attached to Schedule of                                               (Total of this page)             12,225.00
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
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                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Financial Recovery Services, Inc                              Providian Bank
                                                                     PO Box 813
                                                                     Concord, CA 94522-0813



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     LVNV Funding                                                  Providian Bank
                                                                     PO Box 10497
                                                                     Greenville, SC 29603-0497
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Portfolio                                                     Providian Bank
                                                                     120 Corporate Blvd Ste 1
                                                                     Norfolk, VA 23502-4962



                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Thomas West Assoc LLC                                         Providian Bank
                                                                     Dept 922
                                                                     PO Box 4115
                                                                     Concord, CA 94524-4115

                                                                     Account No. 1963                                         W Consumer Credit Account
                                                                     Providian Bank
                                                                     ATTN: Bankruptcy
                                                                     4900 Johnson Dr
                                                                     Pleasanton, CA 94588-3308
                                                                                                                                                                                                                   3,000.00
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Portfolio Recovery Assoc.                                     Providian Bank
                                                                     PO Box 12914
                                                                     Norfolk, VA 23541-0914



                                                                     Account No. 5207                                         W Medical treatment. ALL ACCOUNTS.
                                                                     Radiology Consultants Of Lynchburg
                                                                     113 Nationwide Dr
                                                                     Lynchburg, VA 24502-4272

                                                                                                                                                                                                                       90.00
                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         6 of       7 sheets attached to Schedule of                                               (Total of this page)              3,090.00
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-60712            Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                               Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               (Continuation Sheet)
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                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Creditors Service Agency                                      Radiology Consultants Of Lynchburg
                                                                     2600 Memorial Ave Ste 206
                                                                     Lynchburg, VA 24501-2658



                                                                     Account No. 3431                                         W Collection Account for Medical Treatment
                                                                     SCA Credit Services                                        from Centra Health. ALL ACCOUNTS.
                                                                     1502 Williamson Rd NE
                                                                     Roanoke, VA 24012-5130
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                                                                                                                                                                                                                     385.69
                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         7 of       7 sheets attached to Schedule of                                               (Total of this page)                385.69
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL                   40,551.82
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     Case 06-60712                   Doc 1          Filed 05/18/06 Entered 05/18/06 10:17:09                                          Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                     Case No.
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                     AAAA Self Storage                                                                          Month to Month Lease for Storage Unit/ $27.00 Per Month
                                                                     1607 E Washington St
                                                                     Petersburg, VA 23803-3630
                                                                     F&S Rentals                                                                                Month to Month Lease/ $525.00 Per Month
                                                                     C/O Sheila Foster
                                                                     171 Moultrie St MSC15L
                                                                     Charleston, SC 29409-0001
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                    Case 06-60712                  Doc 1         Filed 05/18/06 Entered 05/18/06 10:17:09                                       Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                               Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR


                                                                     Lyndale Humphries                                                                      CitiFinancial Auto
                                                                     4616 Fort Ave                                                                          2208 Highway 121
                                                                     Lynchburg, VA 24502-5036                                                               Bedford, TX 76021-5981
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                                                                     SCHEDULE H - CODEBTORS
                                                                                    Case 06-60712                  Doc 1         Filed 05/18/06 Entered 05/18/06 10:17:09                                      Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                               Case No.
                                                                                                                               Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP                                                                                          AGE




                                                                      EMPLOYMENT:                                             DEBTOR                                                                   SPOUSE
                                                                      Occupation                Sales                                                                   Cook
                                                                      Name of Employer          Famous Men's Clothing                                                   Canteen Restaurant
                                                                      How long employed         3 Years                                                                 9 Months
                                                                      Address of Employer                                                                               Odd Fellows Road
                                                                                                Lynchburg, VA                                                           Lynchburg, VA

                                                                     INCOME: (Estimate of average monthly income)                                                                                         DEBTOR                     SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)                                   $            1,118.00 $                1,385.87
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                                                                     2. Estimated monthly overtime                                                                                            $                         $
                                                                     3. SUBTOTAL                                                                                                              $            1,118.00 $                1,385.87
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                         $               401.83
                                                                       b. Insurance                                                                                                           $                         $
                                                                       c. Union dues                                                                                                          $                         $
                                                                       d. Other (specify)                                                                                                     $                         $
                                                                                                                                                                                              $                         $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                  0.00 $                 401.83
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $            1,118.00 $                   984.04

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                         $
                                                                     8. Income from real property                                                                                             $                         $
                                                                     9. Interest and dividends                                                                                                $                         $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                         $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                         $
                                                                                                                                                                                              $                         $
                                                                     12. Pension or retirement income                                                                                         $                         $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                         $
                                                                                                                                                                                              $                         $
                                                                                                                                                                                              $                         $

                                                                     14. SUBTOTAL OF INCOME REPORTED ON LINES 7 THROUGH 13                                                                    $                         $
                                                                     15. TOTAL MONTHLY INCOME (Add amounts shown on Lines 6 through 14.)                                                      $            1,118.00 $                   984.04

                                                                     16. TOTAL COMBINED MONTHLY INCOME $                                           2,102.04          (Report also on Summary of Schedules)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 06-60712                 Doc 1        Filed 05/18/06 Entered 05/18/06 10:17:09                                     Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                            Case No.
                                                                                                                              Debtor(s)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                          $               525.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                            $                75.00
                                                                         b. Water and sewer                                                                                                                         $
                                                                         c. Telephone                                                                                                                               $                70.00
                                                                         d. Other Garbage                                                                                                                           $                10.00
                                                                                                                                                                                                                    $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                       $                25.00
                                                                     4. Food                                                                                                                                        $               350.00
                                                                     5. Clothing                                                                                                                                    $                50.00
                                                                     6. Laundry and dry cleaning                                                                                                                    $                65.00
                                                                     7. Medical and dental expenses                                                                                                                 $                75.00
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                                                                     8. Transportation (not including car payments)                                                                                                 $               250.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $                25.00
                                                                     10. Charitable contributions                                                                                                                   $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                 $
                                                                         b. Life                                                                                                                                    $
                                                                         c. Health                                                                                                                                  $
                                                                         d. Auto                                                                                                                                    $               100.00
                                                                         e. Other                                                                                                                                   $
                                                                                                                                                                                                                    $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Personal Property Tax                                                                                                            $                16.66
                                                                                                                                                                                                                    $
                                                                     13. Installment payments (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                    $               263.00
                                                                         b. Other                                                                                                                                   $
                                                                         c. Other                                                                                                                                   $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                           $
                                                                     15. Payments for support of additional dependents not living at your home                                                                      $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                               $
                                                                     17. Other Allowance To College-Age Daughter                                                                                                    $               200.00
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $

                                                                     18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                               $             2,099.66

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of
                                                                     this document:
                                                                     Student loans for daughter's education become due. Debtors are joint debtors on these loans. Payment will be __________
                                                                     per month.




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Total monthly income from Line 16 of Schedule I                                                                                         $             2,102.04
                                                                         b. Total monthly expenses from Line 18 above                                                                                               $             2,099.66
                                                                         c. Monthly net income (a. minus b.)                                                                                                        $                 2.38

                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 06-60712                     Doc 1             Filed 05/18/06 Entered 05/18/06 10:17:09                         Desc Main
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                                                                     IN RE Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                     Case No.
                                                                                                                                       Debtor(s)

                                                                                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                            20 sheets, and that
                                                                                                                                                                                           (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.

                                                                     Date: May 18, 2006                                       Signature: /s/ Melvin NMN Humphries
                                                                                                                                              Melvin NMN Humphries                                                                             Debtor


                                                                     Date: May 18, 2006                                       Signature: /s/ Delmonica Lynn Humphries
                                                                                                                                              Delmonica Lynn Humphries                                                           (Joint Debtor, if any)
                                                                                                                                                                                       [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                  Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                (Total shown on summary page plus 1)




                                                                     Date:                                                    Signature:


                                                                                                                                                                                         (Print or type name of individual signing on behalf of debtor)

                                                                                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                  Case 06-60712              Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09          Desc Main
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                                                                                                                  UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                        OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available
                                                                              from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
                                                                              bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you
                                                                              that the Attorney General may examine all information you supply in connection with a bankruptcy case. You
                                                                              are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                              advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
                                                                              employees cannot give you legal advice.

                                                                     1. Services Available from Credit Counseling Agencies
                                                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
                                                                     relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
                                                                     provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy
                                                                     filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet)
                                                                     and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
                                                                     administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling
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                                                                     agencies.
                                                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
                                                                     instructional courses.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
                                                                     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                     1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                     whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
                                                                     permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
                                                                     size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
                                                                     Code. It is up to the court to decide whether the case should be dismissed.
                                                                     2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
                                                                     take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                     3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
                                                                     it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                     4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
                                                                     be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
                                                                     settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
                                                                     or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
                                                                     fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
                                                                     discharged.

                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
                                                                     administrative fee: Total fee $274)
                                                                     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments
                                                                     over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
                                                                     Bankruptcy Code.
                                                                     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b) OF THE BANKRUPTCY CODE
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                                                                     using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
                                                                     upon your income and other factors. The court must approve your plan before it can take effect.
                                                                     3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                     secured obligations.

                                                                     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                     quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
                                                                     arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
                                                                     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
                                                                     orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
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                                                                     by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
                                                                     of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
                                                                     of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                     creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                     information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                     local rules of the court.

                                                                                                         Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
                                                                     required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                      Social Security number (If the bankruptcy
                                                                     Address:                                                                                             petition preparer is not an individual, state
                                                                                                                                                                          the Social Security number of the officer,
                                                                                                                                                                          principal, responsible person, or partner of
                                                                                                                                                                          the bankruptcy petition preparer.)
                                                                                                                                                                          (Required by 11 U.S.C. § 110.)
                                                                     X
                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                                Certificate of the Debtor
                                                                     I (We), the debtor(s), affirm that I (we) have received and read this notice.



                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                            X /s/ Melvin NMN Humphries                                 5/18/2006
                                                                     Printed Name(s) of Debtor(s)                                                   Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                          X /s/ Delmonica Lynn Humphries                             5/18/2006
                                                                                                                                                    Signature of Joint Debtor (if any)                            Date



                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b) OF THE BANKRUPTCY CODE
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                                                                                                                                 United States Bankruptcy Court
                                                                                                                                   Western District of Virginia

                                                                     IN RE:                                                                                                      Case No.
                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                           Chapter 7
                                                                                                                         Debtor(s)

                                                                                                          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                         I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
                                                                     üII have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
                                                                     ü   intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                                                                                                                  Property will  Debt will be
                                                                                                                                                                                                   Property is    be redeemed     reaffirmed
                                                                                                                                                                                   Property will   claimed as    pursuant to 11 pursuant to 11
                                                                     Description of Secured Property                           Creditor’s Name                                    be Surrendered     exempt       U.S.C. § 722 U.S.C. § 524(c)

                                                                     2001 Ford Focus.                                          CitiFinancial Auto                                                                                    ü

                                                                                                                                                                                                                                 Lease will be
                                                                                                                                                                                                                                   assumed
                                                                                                                                                                                                                                pursuant to 11
                                                                                                                                                                                                                                   U.S.C. §
                                                                     Description of Leased Property                                              Lessor’s Name                                                                   362(h)(1)(A)

                                                                     Month to Month Lease/ $525.00 Per Month                 F&S Rentals                                                                                              ü
                                                                     Month to Month Lease for Storage Unit/ $27.00 Per Month AAAA Self Storage                                                                                        ü
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                                                                         05/18/2006                   /s/ Melvin NMN Humphries                                    /s/ Delmonica Lynn Humphries
                                                                            Date                      Melvin NMN Humphries                                 Debtor Delmonica Lynn Humphries     Joint Debtor (if applicable)

                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.

                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.


                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                  Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
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                                                                                                                             United States Bankruptcy Court
                                                                                                                               Western District of Virginia

                                                                     IN RE:                                                                                                       Case No.
                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                            Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
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                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  5,000.00 2006 Employment Husband
                                                                                  5,913.91 2006 Employment Wife
                                                                                 10,341.00 2005 Employment Husband
                                                                                  4,734.64 2005 Employment Wife

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  6,000.00 2004 Unemployment Husband
                                                                                  4,000.00 2004 Unemployment Wife




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                  STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                     DISPOSITION
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                                                                     Portfolio Recovery Associates              Warrant in Debt                           Lynchburg General District Court Default Judgment
                                                                     LLC                                                                                                                   12/14/05
                                                                     v.
                                                                     Delmonica Humphries
                                                                     Case No. 05-7930
                                                                     Palisades Collection, LLC t/a              Garnishment                               Lynchburg General District Court Other. 8/11/05
                                                                     Discover Bank
                                                                     v.
                                                                     Delmonica L. Humphries
                                                                     Case No. 04-2798-01
                                                                     Unifund CCR Partners                       Warrant in Debt                           Lynchburg General District Court Hearing 5/15/06
                                                                     v.
                                                                     Delmonical D. Humphries
                                                                     Case No. 06-2671
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Margaret C. Valois, PLLC                                          4/11/2006                                                              695.00
                                                                     2511 Memorial Ave Ste 203
                                                                     Lynchburg, VA 24501-2657

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
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                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                     NAME AND ADDRESS OF TRANSFEREE,                                                                                  DESCRIBE PROPERTY TRANSFERRED
                                                                     RELATIONSHIP TO DEBTOR                                            DATE                                           AND VALUE RECEIVED
                                                                     Adrian Dunkirk                                                    1/04                                           1987 Honda Civic. No value
                                                                     Lynchburg, VA                                                                                                    received.
                                                                     SISTER
                                                                     Vehicle currently worth approximately $900.00. Transferee has returned vehicle to Debtors, who have not yet retitled vehicle
                                                                     in their own names.

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
                                                                      ü      similar device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü

                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.
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                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                  Case 06-60712           Doc 1       Filed 05/18/06 Entered 05/18/06 10:17:09                        Desc Main
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: May 18, 2006                         Signature /s/ Melvin NMN Humphries
                                                                                                                of Debtor                                                              Melvin NMN Humphries

                                                                     Date: May 18, 2006                         Signature /s/ Delmonica Lynn Humphries
                                                                                                                of Joint Debtor                                                   Delmonica Lynn Humphries
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                                                                   United States Bankruptcy Court
                                                                                                                     Western District of Virginia

                                                                     IN RE:                                                                                  Case No.
                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                                       Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: May 18, 2006                     Signature: /s/ Melvin NMN Humphries
                                                                                                                        Melvin NMN Humphries                                                     Debtor



                                                                     Date: May 18, 2006                     Signature: /s/ Delmonica Lynn Humphries
                                                                                                                        Delmonica Lynn Humphries                                     Joint Debtor, if any
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                                                                     VERIFICATION OF CREDITOR MATRIX
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            AAAA SELF STORAGE
            1607 E WASHINGTON ST
            PETERSBURG, VA 23803-3630


            ALLIANCE ONE
            PO BOX 1961
            SOUTHGATE, MI      48195-0961


            ALLIED INTERSTATE
            3000 CORPORATE EXCHANGE DR 5TH FL
            COLUMBUS, OH 43231-7689


            ALLTEL COMMUNICATIONS
            BUILDING 4 FIFTH FLOOR
            1 ALLIED DR
            LITTLE ROCK, AR 72202-2013


            ALLTEL COMMUNICATIONS
            PO BOX 8130
            LITTLE ROCK, AR 72203-8130


            AMERICAN GENERAL FINANCE
            220 JOHN GLENN DR
            AMHERST, NY 14228-2228


            ASSOCIATED RECOVERY SYSTEMS
            201 W GRAND AVE
            ESCONDIDO, CA 92025-2603


            BANK FIRST
            1509 W 41ST ST
            SIOUX FALLS, SD       57105-6370


            CAPITAL ONE
            PO BOX 85167
            RICHMOND, VA      23285-5167
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            CCB CREDIT SERVICES INC
            PO BOX 272
            SPRINGFIELD, IL 62705-0272


            CENTRA HEALTH
            PO BOX 2496
            LYNCHBURG, VA      24505-2496


            CHECK FIRST
            3701 FORT AVE
            LYNCHBURG, VA      24501-3819


            CHECK FIRST
            117 CENTER PARK DR STE 310
            KNOXVILLE, TN 37922-2131


            CHEVRON CREDIT BANK NA
            PO BOX 5010
            CONCORD, CA 94524-0010


            CITI CARDS
            MC02-02-03
            8725 W SAHARA AVE
            THE LAKES, NV 89163-0001


            CITIBANK
            ATTN: BANKRUPTCY
            PO BOX 6500
            SIOUX FALLS, SD 57117-6500


            CITIBANK/SEARS
            ATTN: BANKRUPTCY
            PO BOX 6189
            SIOUX FALLS, SD 57117-6189
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            CITIBANK/SHELL
            PO BOX 6003
            HAGERSTOWN, MD      21747-6003


            CITIFINANCIAL AUTO
            2208 HIGHWAY 121
            BEDFORD, TX 76021-5981


            CREDITORS SERVICE AGENCY
            2600 MEMORIAL AVE STE 206
            LYNCHBURG, VA 24501-2658


            DISCOVER
            PO BOX 15316
            WILMINGTON, DE      19850-5316


            DOMINION LAW ASSOCIATES
            222 CENTRAL PARK AVE
            VIRGINIA BEACH, VA 23462-3022


            DONALD M. FISHMAN
            10605 JUDICIAL DR STE A5
            FAIRFAX, VA 22030-5167


            F&S RENTALS
            C/O SHEILA FOSTER
            171 MOULTRIE ST MSC15L
            CHARLESTON, SC 29409-0001


            FINANCIAL RECOVERY SERVICES, INC
            PO BOX 813
            CONCORD, CA 94522-0813


            FIRST PREMIER BANK
            900 W DELAWARE ST
            SIOUX FALLS, SD 57104-0347
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            FIRST PREMIER BANK
            PO BOX 5519
            SIOUX FALLS, SD 57117-5519


            GLASSER & GLASSER PLC
            580 E MAIN ST STE 600
            NORFOLK, VA 23510-2322


            JEFFERSON CAPITAL SYSTEMS LLC
            16 MCLELAND RD
            SAINT CLOUD, MN 56303-2198


            LVNV FUNDING
            PO BOX 10497
            GREENVILLE, SC      29603-0497


            MIDLAND CREDIT MANAGEMENT
            PO BOX 939019
            SAN DIEGO, CA 92193-9019


            OFFICE OF THE US TRUSTEE
            WESTERN DISTRICT OF VIRGINIA
            210 1ST ST SW STE 505
            ROANOKE, VA 24011-1620


            PALISADES COLLECTION LLC
            210 SYLVAN AVE
            ENGLEWOOD CLIFFS, NJ 07632-2524


            PATHOLOGY CONSULTANTS OF CENTRAL VA
            1905 ATHERHOLT RD
            LYNCHBURG, VA 24501-1103


            PIEDMONT EYE CENTER INC.
            2402 ATHERHOLT RD
            LYNCHBURG, VA 24501-2148
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            PORTFOLIO
            120 CORPORATE BLVD STE 1
            NORFOLK, VA 23502-4962


            PORTFOLIO RECOVERY ASSOC.
            PO BOX 12914
            NORFOLK, VA 23541-0914


            PROVIDIAN BANK
            ATTN: BANKRUPTCY
            PO BOX 9180
            PLEASANTON, CA 94566-9180


            PROVIDIAN BANK
            ATTN: BANKRUPTCY
            4900 JOHNSON DR
            PLEASANTON, CA 94588-3308


            RADIOLOGY CONSULTANTS OF LYNCHBURG
            113 NATIONWIDE DR
            LYNCHBURG, VA 24502-4272


            SCA CREDIT SERVICES
            1502 WILLIAMSON RD NE
            ROANOKE, VA 24012-5130


            THOMAS WEST ASSOC LLC
            DEPT 922
            PO BOX 4115
            CONCORD, CA 94524-4115


            UNIFUND CCR PARTNERS
            10625 TECHWOOD CIR
            CINCINNATI, OH 45242-2846
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            WOLPOFF & ABRAMSON
            TWO IRVINGTON CENTRE
            702 KING FARM BLVD
            ROCKVILLE, MD 20850-5774


            WOMENS HEALTH SERVICES OF CENTRAL VA
            2919 CONFEDERATE AVE
            LYNCHBURG, VA 24501-2435
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                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                               Western District of Virginia

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Humphries, Melvin NMN & Humphries, Delmonica Lynn                                                                                                                          Chapter 7
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               695.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   695.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $     0.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:
                                                                            Representation at Adversarial Proceedings
                                                                            Amendments to Petition
                                                                            Actions to Avoid Judicial Liens
                                                                            Actions to Correct Erroneous Credit Reports




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                      May 18, 2006                                                  /s/ Margaret C. Valois
                                                                                                               Date                                                                                                             Signature of Attorney

                                                                                                                                                                    Margaret C. Valois, PLLC
                                                                                                                                                                                                                                  Name of Law Firm

                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
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                                                                     Form B22A (Chapter 7) (10/05)                                                   According to the calculations required by this statement:
                                                                                                                                                          The presumption arises
                                                                     In re: Humphries, Melvin NMN & Humphries, Delmonica Lynn
                                                                                                         Debtor(s)                                     ü  The presumption does not arise
                                                                     Case Number:                                                                    (Check the box as directed in Parts I, III, and VI of this statement.)
                                                                                                         (If known)


                                                                               STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST CALCULATION
                                                                                                                                     FOR USE IN CHAPTER 7

                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
                                                                     primarily consumer debts. Joint debtors may complete one statement only.


                                                                                                              Part I. EXCLUSION FOR DISABLED VETERANS
                                                                              If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the Veteran’s
                                                                              Declaration, (2) check the “Presumption does not arise” box at the top of this statement, and (3) complete the verification in Part VIII. Do not
                                                                              complete any of the remaining parts of this statement.
                                                                        1
                                                                                 Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38 U.S.C. §
                                                                              3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I
                                                                              was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


                                                                                       Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.      Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
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                                                                              b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury: “My
                                                                                      spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the purpose
                                                                                      of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.” Complete only Column A (“Debtor’s Income”) for Lines
                                                                                      3-11.
                                                                        2     c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                                                                                      (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                              d.   ü Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
                                                                              All figures must reflect average monthly income for the six calendar months prior to filing the bankruptcy             Column A           Column B
                                                                              case, ending on the last day of the month before the filing. If you received different amounts of income               Debtor’s           Spouse’s
                                                                              during these six months, you must total the amounts received during the six months, divide this total by               Income              Income
                                                                              six, and enter the result on the appropriate line.
                                                                        3     Gross wages, salary, tips, bonuses, overtime, commissions.                                                         $      1,316.67 $            384.93
                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and enter
                                                                              the difference on Line 4. Do not enter a number less than zero. Do not include any part of the
                                                                              business expenses entered on Line b as a deduction in Part V.
                                                                        4       a.     Gross receipts                                            $
                                                                                b.     Ordinary and necessary business expenses                  $
                                                                                c.     Business income                                           Subtract Line b from Line a
                                                                                                                                                                                                 $                  $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference on Line 5.
                                                                              Do not enter a number less than zero. Do not include any part of the operating expenses entered on
                                                                              Line b as a deduction in Part V.
                                                                        5       a.     Gross receipts                                            $
                                                                                b.     Ordinary and necessary operating expenses                 $
                                                                                c.     Rental income                                             Subtract Line b from Line a
                                                                                                                                                                                                 $                  $
                                                                        6     Interest, dividends, and royalties.                                                                                $                  $
                                                                        7     Pension and retirement income.                                                                                     $                  $
                                                                              Regular contributions to the household expenses of the debtor or the debtor’s dependents,
                                                                        8     including child or spousal support. Do not include contributions from the debtor’s spouse if Column B
                                                                              is completed.                                                                                                      $                  $
                                                                              Unemployment compensation. Enter the amount in Column A and, if applicable, Column B. However,
                                                                              if you contend that unemployment compensation received by you or your spouse was a benefit under the
                                                                              Social Security Act, do not list the amount of such compensation in Column A or B, but instead state the
                                                                        9     amount in the space below:
                                                                                Unemployment compensation claimed to
                                                                                be a benefit under the Social Security Act     Debtor $                         Spouse $
                                                                                                                                                                                                 $                  $
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                                                                           Income from all other sources. If necessary, list additional sources on a separate page. Do not
                                                                           include any benefits received under the Social Security Act or payments received as a victim of a war
                                                                           crime, crime against humanity, or as a victim of international or domestic terrorism. Specify source and
                                                                           amount.
                                                                     10
                                                                            a.                                                                                       $
                                                                            b.                                                                                       $
                                                                            Total and enter on Line 10                                                                                       $               $

                                                                     11
                                                                           Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
                                                                           Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                                    $   1,316.67 $        384.93
                                                                           Total current monthly income. If Column B has been completed, add Line 11, Column A to Line
                                                                     12    11, Column B, and enter the total. If Column B has not been completed, enter the amount from Line 11,
                                                                           Column A.                                                                                                         $                   1,701.60

                                                                                                           Part III. APPLICATION OF § 707(B)(7) EXCLUSION
                                                                     13
                                                                           Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
                                                                           enter the result.                                                                                                            $        20,419.20
                                                                           Applicable median family income. Enter the median family income for the applicable state and household size.
                                                                     14    (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                           a. Enter debtor’s state of residence: Virginia                              b. Enter debtor’s household size:     2          $        56,455.00
                                                                           Application of Section707(b)(7). Check the applicable box and proceed as directed.
                                                                     15    ü at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
                                                                              The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not arise”
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                                                                                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                                                                                               Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                                                                                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                     16    Enter the amount from Line 12.                                                                                               $

                                                                           Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column B
                                                                     17    that was NOT regularly contributed to the household expenses of the debtor or the debtor’s dependents. If you did not
                                                                           check box at Line 2.c, enter zero.                                                                                           $
                                                                     18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                   $

                                                                                           Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                                                                                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                           National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter
                                                                           “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level.
                                                                     19
                                                                           (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                                                                                        $

                                                                           Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                     20A   Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
                                                                           www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                               $

                                                                           Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                           IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
                                                                           at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly
                                                                           Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in
                                                                           Line 20B. Do not enter an amount less than zero.
                                                                     20B    a.     IRS Housing and Utilities Standards; mortgage/rental expense          $
                                                                                   Average Monthly Payment for any debts secured by your home,
                                                                            b.     if any, as stated in Line 42                                          $
                                                                            c.     Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                                        $

                                                                           Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                           20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards,
                                                                           enter any additional amount to which you contend you are entitled, and state the basis for your contention in the space
                                                                     21    below:



                                                                                                                                                                                                         $
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                                                                          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of
                                                                          whether you use public transportation.
                                                                          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included
                                                                     22   as a contribution to your household expenses in Line 8.
                                                                             0      1     2 or more.
                                                                          Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
                                                                          number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                                     $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
                                                                          vehicles.)
                                                                             1      2 or more.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                     23   for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in Line 23. Do
                                                                          not enter an amount less than zero.
                                                                           a.     IRS Transportation Standards, Ownership Costs, First Car                  $
                                                                                  Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                           b.     stated in Line 42                                                         $
                                                                           c.     Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
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                                                                          checked the “2 or more” Box in Line 23.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                          for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in Line 24. Do
                                                                     24   not enter an amount less than zero.
                                                                           a.     IRS Transportation Standards, Ownership Costs, Second Car                 $
                                                                                  Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                           b.     stated in Line 42                                                         $
                                                                           c.     Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
                                                                     25   state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
                                                                          security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                                     $

                                                                          Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
                                                                     26   deductions that are required for your employment, such as mandatory retirement contributions, union dues, and uniform
                                                                          costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                                           $

                                                                          Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
                                                                     27   insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other
                                                                          form of insurance.                                                                                                                 $

                                                                          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
                                                                     28   pay pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                          obligations included in Line 44.                                                                                                   $

                                                                          Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                     29   child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for
                                                                          education that is required for a physically or mentally challenged depend-ent child for whom no public education providing
                                                                          similar services is available.                                                                                                     $

                                                                     30
                                                                          Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare.
                                                                          Do not include payments made for children’s education.                                                                             $

                                                                          Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
                                                                     31   care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for
                                                                          health insurance listed in Line 34.                                                                                                $

                                                                          Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
                                                                     32   actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet services necessary
                                                                          for the health and welfare of you or your dependents. Do not include any amount previously deducted.                               $
                                                                     33   Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                $
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                                                                                                       Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                    Note: Do not include any expenses that you have listed in Lines 19-32
                                                                          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average monthly
                                                                          amounts that you actually expend in each of the following categories and enter the total.
                                                                           a.    Health Insurance                                                       $
                                                                     34    b.    Disabilit y I nsur ance                                                $
                                                                           c.    Health Sav ings Account                                                $
                                                                                                                                                        Total: Add Lines a, b and c
                                                                                                                                                                                                        $

                                                                          Continued contributions to the care of household or family members. Enter the actual monthly expenses
                                                                     35   that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
                                                                          member of your household or member of your immediate family who is unable to pay for such expenses.                           $

                                                                     36
                                                                          Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
                                                                          safety of your family under the Family Violence Prevention and Services Act or other applicable federal law.                  $

                                                                          Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the average
                                                                     37   monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for Housing and
                                                                          Utilities. You must provide your case trustee with documentation demonstrating that the additional amount
                                                                          claimed is reasonable and necessary.                                                                                          $

                                                                          Education expenses for dependent children less than 18. Enter the average monthly expenses that you
                                                                     38   actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent children
                                                                          less than 18 years of age. You must provide your case trustee with documentation demonstrating that the amount
                                                                          claimed is reasonable and necessary and not already accounted for in the IRS Standards.                                       $
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                                                                          Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
                                                                          expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
                                                                     39   percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
                                                                          bankruptcy court.) You must provide your case trustee with documentation demonstrating that the additional
                                                                          amount claimed is reasonable and necessary.                                                                                   $

                                                                     40
                                                                          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
                                                                          financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                   $
                                                                     41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                    $

                                                                                                                   Subpart C: Deductions for Debt Payment
                                                                          Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                                                                          own, list the name of creditor, identify the property securing the debt, and state the Average Monthly Payment. The
                                                                          Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
                                                                          following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance
                                                                          required by the mortgage. If necessary, list additional entries on a separate page.
                                                                                                                                                                                          60-month
                                                                     42          Name of Creditor                                Property Securing the Debt                            Average Pmt
                                                                           a.                                                                                                      $
                                                                           b.                                                                                                      $
                                                                           c.                                                                                                      $
                                                                                                                                                                        Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                          Past due payments on secured claims. If any of the debts listed in Line 42 are in default, and the property
                                                                          securing the debt is necessary for your support or the support of your dependents, you may include in your deductions
                                                                          1/60th of the amount that you must pay the creditor as a result of the default (the “cure amount”) in order to maintain
                                                                          possession of the property. List any such amounts in the following chart and enter the total. If necessary, list additional
                                                                          entries on a separate page.
                                                                                                                                                                                       1/60th of the
                                                                     43          Name of Creditor                                Property Securing the Debt in Default                 Cure Amount
                                                                           a.                                                                                                      $
                                                                           b.                                                                                                      $
                                                                           c.                                                                                                      $
                                                                                                                                                                        Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                     44
                                                                          Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
                                                                          claims), divided by 60.                                                                                                       $
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                                                                          Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
                                                                          chart, multiply the amount in Line a by the amount in Line b, and enter the resulting administrative expense.
                                                                           a.       Projected average monthly Chapter 13 plan payment.                      $
                                                                                    Current multiplier for your district as determined under schedules
                                                                     45
                                                                                    issued by the Executive Office for United States Trustees. (This
                                                                                    information is available at www.usdoj.gov/ust/ or from the clerk of
                                                                           b.       the bankruptcy court.)                                                  X
                                                                           c.       Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b
                                                                                                                                                                                                             $
                                                                     46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                         $

                                                                                                           Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                     47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                        $


                                                                                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                     48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                             $
                                                                     49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                  $
                                                                     50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                   $

                                                                     51
                                                                          60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
                                                                          result.                                                                                                                            $

                                                                          Initial presumption determination. Check the applicable box and proceed as directed.
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                                                                               The amount on Line 51 is less than $6,000. Check the box for “The presumption does not arise” at the top of page 1 of this
                                                                                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                     52         The amount set forth on Line 51 is more than $10,000. Check the box for “The presumption arises” at the top of page 1 of this
                                                                                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                                                                                The amount on Line 51 is at least $6,000, but not more than $10,000. Complete the remainder of Part VI (Lines 53 though
                                                                                55).
                                                                     53   Enter the amount of your non-priority unsecured debt.                                                                              $
                                                                     54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                             $

                                                                          Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                             The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top of
                                                                     55         page 1 of this statement, and complete the verification in Part VIII.
                                                                                The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
                                                                                the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                                                                                Part VII. ADDITIONAL EXPENSE CLAIMS
                                                                          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                                                                          you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If
                                                                          necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
                                                                          expenses.
                                                                                    Expense Description                                                                                             Monthly Amount
                                                                     56    a.                                                                                                                   $
                                                                           b.                                                                                                                   $
                                                                           c.                                                                                                                   $
                                                                                                                                                            Total: Add Lines a, b and c         $



                                                                                                                             Part VIII. VERIFICATION
                                                                          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case, both debtors must
                                                                          sign.)


                                                                     57   Date: May 18, 2006                         Signature: /s/ Melvin NMN Humphries
                                                                                                                                                                             (Debtor)


                                                                          Date: May 18, 2006                         Signature: /s/ Delmonica Lynn Humphries
                                                                                                                                                                       (Joint Debtor, if any)
